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“LERK US DISTRICT Cour
DISTRICT OF ARIZONA

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

United States of America, No. CR23-01075 TUC-JCH(BG M)

Plaintiff,
VS. ORDER

Jaime Reyes Jacobo,

Defendant.

This case has been identified as one involving a "child" younger than eighteen years
of age who is or is alleged to be a victim of a crime of physical abuse, sexual abuse, or
exploitation; or a witness to a crime committed against another person. As such, the
provisions of 18 U.S.C. § 3509 apply.

IT IS THEREFORE HEREBY ORDERED that all persons covered by the
requirements of 18 U.S.C. § 3509(d)(1)(B), including the defendant and employees of the
defendant, the attorney for the defendant and all persons hired by the defendant or the
attorney for the defendant to provide assistance in the proceeding, all employees of the
government connected with the case, law enforcement agencies, employees of the
Department of Justice, and any person hired by the government to provide assistance in the
proceeding, and all employees of the court, shall:

iL, keep all documents that disclose the name or any other information
concerning a “child” in a secure place to which no person who does not have reason to

know their contents has access; and

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2. disclose such documents or the information in them that concerns a child
only to persons who, by reason of their participation in the proceeding, have reason to know
such information.

IT IS FURTHER ORDERED that all papers to be filed in court that disclose the
name of or any other information concerning a child shall be filed under seal without
necessity of obtaining a court order. The person who makes the filing shall submit to the
clerk of the court:

1. the complete paper to be kept under seal; and

2. the paper with the portions of it that disclose the name of or other information
concerning a child redacted, to be placed in the public record.

IT IS FURTHER ORDERED that the defendant, counsel for the defendant and
counsel for the United States shall be provided with a copy of each unredacted charging
document and entitled to an unredacted copy of any pleading filed in this case, provided
that such pleading is not filed ex-parte.

A KNOWING OR INTENTIONAL FAILURE TO COMPLY WITH THE
PRIVACY PROTECTIONS ACCORDED BY 18 U.S.C. § 3509 IS A CRIMINAL
CONTEMPT PUNISHABLE BY IMPRISONMENT AND OR A FINE PURSUANT TO
18 U.S.C. § 403.

DATED this day of July, 2023.

Qe ws Na ie (.—

Ne States Magistrate Judge

